Case 17-32710-thf    Doc 23     Filed 10/09/18   Entered 10/09/18 12:24:24   Page 1 of 1


               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF KENTUCKY
                         LOUISVILLE DIVISION

                                   Filed Electronically
   IN RE:
                                             ⁞      CHAPTER 7
   ARVIN LEO WRIGHT                          ⁞
                                             ⁞      CASE NUMBER: 17-32710
                     DEBTOR                  ⁞
                                             ⁞      HON. THOMAS H. FULTON


                                         Order

      Upon consideration of the Motion of the United States Trustee to reopen

   this case and direct appointment of a trustee, it appearing that the motion is

   well-founded and cause is present to reopen the case, The Court hereby

      ORDERS that the above-captioned case is reopened, and further

      ORDERS the United States Trustee to appoint a trustee in this case.

   Tendered by:


   /s/ Charles R. Merrill
   Charles R. Merrill
   Assistant United States Trustee                Dated: October 9, 2018
   United States Department of Justice
   Office of the U.S. Trustee
   601 W. Broadway, Suite 512
   Louisville, KY 40202
   (502) 582-6000
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